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                                       EXHIBIT 5                                                                            2/22/2018

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                        IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF MARYLAND

             CRYSTAL LONG,                                   *



                                 Plaintiff,                      *



                  vs.                                        * Case No.

                                                             * 8:17-CV-1955-G_H

             PENDRICK CAPITAL                                *



             PARTNERS II, LLC, et al. I

                                 Defendants.                 *




                           The    deposition of KIM NANFELDT, Corporate

             Designee, took place on Thursday, February 22, 2018,

             beginning at 10:41 a.m. I at the Law Offices of

             Marshall, Dennehey, Warner, Coleman & Goggin, 50

            Glenmaura National Boulevard, Moosic, Pennsylvania,

            before Christine A. Messner, Court Stenographer and

            Notary Public in and for the State of Pennsylvania.




            Reported by:
                                                                        EQEQW
                                                                                                    I




                     Christine A. Messner                              4l3  r
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                                 Al Betz   6   As s ocia te s , In c
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                                                                                                                Klm Nanfeldt
                                                                                                                      2/22/2018
                                                                                                        2   (Pages     2 to      5)
    x.                                                      Page 2                                                      P a ge 4
          I   APPEARANCES:                                             I              INDE X
          2    On behalf of the Plaintiff:                             2        DE P O S ITIO N O F KIM NANF E LDT
          3    INGMAR GOLDSON, ESQUIRE                                 3           Fe brua ry22, 2018
          4    The Goldson Law Office                                  4   E XAMINATIO N BY:                    P AGE:
          5    1734 Elton Road, Suite 210                              5   Mr. Golds on .                 ..5
          6    Silver Spring, Maryland 20903                           6   Mr. Me tcho .                 ..32
          7   240-780-8829                                             7

          8   igoldson@goldsonlawoffice.com                            8   EXHIBIT:      DESCRIPTION:                    PAGE:
          9                                                            9   3 Verification .                 ..16
         10   On behalf of the Defendant Ability Recovery Services:   10   4 Request for production .            ..24
              RONALD M.METCHO, ESQUIRE                                     5 Interrogatories .               ..24
         12   Marshall, Dennehey, Warner, Coleman & Goggin            12   6 Fact sheet .                  ,.25
         13   2000 Market Street, Suite 2300                          13   7 Log .                       ..26
         14   Philadelphia, Pennsylvania 19103                        14   8 Collection letter .             ..30
         15   215-575-2595                                            15   9 Collection letter .             ..30
         16   nninetcho@mdwcg.com                                     16   10 Credit disputes .               ..35
         17                                                           17   11 December 17, 2016 letter .            ..37
         18                                                           18   12 January31 , 2017 letters .          ..37
         19                                                           19

         20                                                           20

         21                                                           21
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          1     APPE ARANC E S ( con t d . )                           I                   PROCEEDINGS
          2                                                            2
                 On behalf of Pendrick Capital Partners:
          3      M O R G A N M A R C US , E S Q UI R E                 3                     STIPULATIONS
          4                                                            4
                 Sessions, Fishman, Nathan and Israel
          5      120 S. LaSalle Street, Suite 1960                     S       It was agneed by and between counsel that all
          6      Chicago, Illinois 60603                               6   objections, except as to the form of the question,
          7      312-578-0985                                          7   will be reserved until the time of tnial.
          8      mmar cus@session s.legal                              8       It was fuither agreed that the sealing and
          9      (Via teleph on e)                                     9   filing of the deposition transcript will be waived.
         10                                                           10

         11                                                                Whereupon --
         12                                                           12           KTM NANFELDT was called, and having
         13                                                           13   been duly swom, was examined and testified as
         14                                                           14   follows:
         15                                                           15

         16                                                           16                   EXAMINATION BY MR. GOLDSON:
         17                                                           17              Q,    Hi.
         18                                                           18              A.    Hi.
         19                                                           19              Q,   Kim, can you just state your name and
         20                                                           20   address for the record please.
<
         21                                                           21      A . Sure. Kim Nanfeldt, 611 Powell Avenue,

                                                 /m¢.». f                    .,.~~,




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     I   Jessup, Pennsylvania 18434.                                  l           A.     I do.
    2        Q , Thank you. My name is Ingmar Goldson.               2            Q.     l-Iow long have you worked there"
    3    I represent the plaintiff in the lawsuit against            3            A.     Eleven years.
    4    Ability Recovery Services as you may know. Just a           4            Q.     W hat is your current -- are you on
    5    couple preliminary questions. Have you ever been            5       salary or are you paid hourly?
    6    deposed before?                                             6            A.     No.
     7      A. No.                                                   7            Q,     You are paid hourly?
     8      Q . Okay. I'm just going to give you a                   8            A.     And a commission, hourly plus
     9   couple basic rules and Mr. Metcho can follow up with        9       commission.
    10   a few rules if he pleases, First is to make your           10          Q . Okay. Can you tell me what your pay
         responses verbal because the court reporter cannot         ll       structure is? I-Iow much do you get hourly?
    12   pick up body language, head nods or anything of that       12            A.     Thiiteen.
    13   nature and try to stay away from answers like uh-uh        [3            Q.     And what's your commission rate?
    14   and just say yes or no. If you do not understand a         14            A.     It varies. It varies based on the
    15   question, please ask me to clarify.                        15       collections. My annual is about $70,000 a year.
    16           MR. METCHO: The only thing I                       16            Q.     Okay. W hat's your current position at
    17       would add is conversations between you                 17       Ability Recovery Services?
    18       and I like as we had on the phone are                  18            A . I'1n the collection manager.
    19       protected by the attomey/client                        19            Q.     W hat are your duties as a collection
    20       privilege. So if Mr. Goldson asks a                    20       manager?
    21       question that may trigger a response                   21          A . I am in charge of the strategy to bring


                                                        Page 7                                                                   Page 9

     l        that includes something you and I                      I      the revenue in. I place the accounts in the system.
     2        discussed in the past or something I                   2      I do a little bit oflT work. I work with the
     3        discussed with your company, you do not                3    l work
                                                                             collection
                                                                                  with clients,
                                                                                        staf£ a little bit
     4        have to provide that response.                         4      of eveiything.
     5           If that becomes an issue, I'|l                      5          Q. I-low many people, how many employees
     6        make you aware of it and we can decide                 6      does Ability Recovery Sewice have in its collectioll
     7        whether or not it's privileged. So just                7      staff?
     8        be aware that that could come up during                8           A.    About 30.
     9        the deposition.                                        9           Q,    How many employees as a whole does
    10            THE Vt/'ITNESSz Okay.                             10      Abilny Recovery Services have?
                  MR. METCHO: Thank you.                                         A.    About 37.
    12   BY MR. GOLDSON:                                            12           Q.    So other than the 30 collectors, who
    13         Q . All right. Ms. Nanfeldt, first a                 13      are the other employees and what do they do?
    14   little educational background. W hat's the highest         14           A.    lt would be clerical, they would be
    15   level of education that --                                 15      client liaison, they would be processing,
    [6       A . Assooiate's.                                       i6      administration, those types ofpositions.
    17       Q , Associate's. \Vhere did you get your               l'7          Q.    How many employees at Ability Recovery
    18   Associate's?                                               IR      Services would have worked on the alleged debt of the
    [9      A . Penn State.                                         19      plaintiff in this matter Crystal Long?
    20      Q, Do you currently work at Ability                     20           A.    Four.
f
    21   Recovery Services?                                         Qi           Q.    Can you tell me their names?



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Q
                                                  Page 10                                                            Page 12
     I        A. I'm taking it -- I can't. I'm taking             l        A. Audrey would have trained Audrey.
     2   an educated guess there.                                 2   Audrey is our compliance officer. So Audrey would go
     3        Q. Okay. But you can't say who those four           3   out and she would, you know, seek the knowledge and
    4    employees were?                                         4    pass it along.                                                1
     5        A. Other than Mark.                                 5        Q, How long has Audrey been with Ability
     6        Q, Okay. What -- do you know their titles           6   Recovery Services?
     7   then, who those - the four titles?                       7       A. Since its inception, 2005.
     8        A. It would be our clerical stafli                  8        Q, Who are the owners of the Ability
     9        Q. When you say clerical, what does that            9   Recovery Services?
    10   mean?                                                   10       A. Michael Conflitti.
              A. Their duties would be to handle                           Q. What's his relationship to Audrey?
    12   e-OSCARs, you know, the disputes, you know, those       12        A. Audrey is his daughter-in~law.
    13   functions, you know, outside of the collection staff,   13        Q. Okay. Does the collection staff at
    14   requesting backup, those types of functions.            14   Ability Recovery Services receive training ou the
    15        Q. Who does any sort of work with e-OSCAR          15   Fair Credit Reporting Act?
    16   at Ability Recovery Services?                           16       A. Yes.
    17        A. Curret1t]y'? There was probably a change        17        Q. Do they receive training materials?
    ls   since this matter to, you know, today.                  18       A. Yes.
    19        Q, Yeah. Last year.                                19       Q.     When do they receive that training?
    20        A. Shannon Saxon Price, Kathleen Tumer.            20       A.    When they first start employment. It's
    21   I'd say those would be our two main ones.               21   all included in a binder that they keep at their
1


                                                  Page ll                                                            Page 13
     I        Q, I-Iow are Shannon and Kathleen or how            I   desk.
     2   were Shannon and Kathleen trained?                       z        Q. Were -- now, I'm going to sllow you the
     3        A. They would be trained by the compliance          3   responses to the requests for production of documents
     4   officer.                                                4    in this matter. Do you recognize that document?
     5        Q. Who is that?                                     5        A. Yes, I would sayl do.
     6        A. That's Audrey Confiitti.                         6        Q, Did you organize the materials to turn
     7       Q. Was Ms. Conflitti involved in Crystal             7   over to the plaintiff and respond to that document?
     8   Long's disputes?                                         8        A. I would say that would have been
     9       A. No.                                               9   Audrey.
    10       Q. Only Shannon and/or Kathleen were?               10        Q. So -- okay. So Audrey responded to the
             A. Yes.                                                  request for production of documents?
    12       Q. Did Shannon and Kathleen -- let me,              12        A. Yes.
    13   sorry.                                                  13        Q, Who conducts the Fair Credit Reporting
    14       A. That's okay.                                     14   Act training for the collection staff?
    15       Q- Let me ask about them separately. Did            15        A. Jeremy, my supervisor Jeremy Mills.
    16   Shannon get training specifically on the FCRA?          16        Q, Was Jeremy involved with any of the
    17       A. I don't know.                                    17   collection disputes for Crystal Long?
    18       Q. The Fair Credit Reporting Act. Did               18        A. No.
    19   Audrey get training specifically on the FCRA?           19        Q. How often does Ability Recovery
    20       A. Yes.                                             20   Services iind that it's attempting to collect a debt
    21       Q. Who trained Audrey?                              2:   from the wrong person?


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     l       A.    I don't know,                                           l               (Whereupon Exhibit 3 was marked
    2             MR. METCHO: Pm going to object                           2      for identification.)
    3        to the form of the question, but you can                      3   BY MR. GOLDSON:
    4        answer if you are able.                                       4      Q, The next document that I'm going to
     5          THE WITNESS: I don't know the                              5   show you is the response to the interrogatories. Ms.
     6       answer to that.                                               6   Nanfeldt, is it true that with the verification that
     7   BY MR. GOLDSON:                                                   7   I just showed you that you verified all the responses
     8       Q. But it does happen?                                        8   to those interrogatories are true?
    9        A. Occasionally.                                              9        A. Yes.
    10       Q. Do you have any idea of what the error                    10        Q. Is that your testimony today?
         rate is?                                                                   A. Yes.
    12       A. I don't.                                                  12        Q, I'd like to direct your attention to
    13       Q. As a debt -- as a collection agency,                      13   interrogatory number ten, if you could just read
    14   how much does Ability Recovery Services collect on all           14   that?
    IS   annual basis?                                                    15               MR. METCHO: That was it. You can
    16      A. I don't know.                                              16       flip it.
    17       Q. Can you estimate?                                         17   BY MR. GOLDSON:
    18       A. I don't know the answer to that. I                        18       Q. You can read the question, the
    19   would -- that's not part of what I do there.                     19   interrogatory out for the record.
    20       Q, Okay. ls Ability Recovery Services                        20        A.      Right here?
    21   indemnifying Pendrick in this matter?                            21        Q.      Yes.
»




                                                        Page 15                                                             Page 17
     I        A. I believe so.                                             I      A. In light of the allegations in the
     2        Q. How many accounts does Ability Recovery                   2   complaint, please identify each incident where you
     3   Services collect on Pendrick's behalf?                            3   e|Toneously verified credit information relating to
     4        A. About 500,000. Now, they are not all                      4   plaintiff which should have not have been verified.
     5   collected, that's what we have in our system.                     5       Q, Okay. You can read the response to
     6       Q, About500,000 different accounts?                          6    intcrrogatory number ten, you can read it out for the
     7       A. Mm-mm.                                                     7   record or to yourself.
     8       Q. Does Ability Recovery Services carry                       8       A. ARS objects to this interrogatony on
     9   liability insurance?                                             9    the grounds that it is confusing, vague, overbroad
    10        A. Yes.                                                     10   and not calculated to lead to the discoveiy of
              Q, Is Peudrick named in that liability                           admissible evidence. Subject to and without
    12   insurance"                                                       12   having -- without waiving these objections, ARS
    13       A. I believe so, but I don't work with                       13   responds that it does not have any information that
    14   those types of documents.                                        14   is or may be responsive to this inteirogatoiy as it
    15       Q, I'm going to show you this document.                      15   did not enoneously verify credit info1mation related
    16   That is a verification sent to the plaintiff by your             16   to plaintiff which aliegedly should not have been
    17   employer Ability Recovery Services. Is that your                 17   verified.
    18   signature?                                                       18       Q.      Do you stand by that answer today?
    19       A. Yes.                                                      19       A.      Yeah.
    20           MR. GOLDSON: I would like to mark                        20       Q.      Do you still maintain that the
i   21       this as the next exhibit.                                    21   plaintiI`fCrystal Long owes a debt to Ability

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;\                                                  Page 18                                                          Page 20
      I   Recovery Services or Pendriek?                           I             We didn't have a Social, we didn't have
      2        A. I don't think we actually know the              2    a date of birth and that's what we repoNed back to
      g   answer to that. I don't know.                           3    over to the bureaus is that information to identify
      4       Q. When Ability Recovery Services first             4    her as either being responsible or not responsible
     5    received the account from Pendrick, at that point did   5    for the debt was L1ni<nown.
      6   Ability Recovery Services deem that the plaintiff       6          Q. ls it your testimony that Ability
      7   Crystal Long owed that money to Ability and Pendrick?    7   Recovery Services did not respond to the disputes
     8              MR. METCHO: I'm going to object                8   that the reported information was accurate?
      9        to the fonn of the question. If you                9          A. We reported it as unknown, that was
     10       understand it, you can answer.                      10   accurate.
                    THE WITNESS: I don't think we                          Q. What was accurate"
     12       really know who owes what until we get              12       A. That the infonnation was unknown was
     13        to situations a little bit farther down            13   our accurate response. We did not know that
     14       the road. lf someone tells us they                  14   information .
     15        don't owe it, you know, then we take a             15        Q. So did Ability respond that the
     16       look at the infonnation that we have on             16   information was accurate?
     17       file and take it from there. So to say              17        A. We responded that it was unknown.
     18        whether she owed it or not when it first           18        Q. Okay. All right. l'n1 going to show
     19        came to our oftice, I don't know the               19   you a document that was turned over for requests for
     20      answer to that.                                      20   production in this case. Do you recognize that
     ZI   BY MR. GOLDSON:                                         21   document"
I




                                                    Page 19                                                          Page 21

      l         Q. Okay. Thank you. In your response you           l       A. I do.
      2   just said take it from there, what -- can you            2       Q, What is it?
      3   describe that process?                                   3       A. That's our activity history from
      4         A. Sure. In the case Crystal Long she              4   Crystal Long's account.
      5   called in from a letter, she was disputing ir. We        5       Q, Okay. And was that document created in
      6   put it in a disputed status and reported it to the       6   the regular course of business for Ability Recovery
      7   bureaus as disputed. She didn't get any more phone       7   Services?
      8   calls. She didn't get any additional letters.            8       A. Yes.
      9              At that point, you know, she didn't           9       Q. Okay. Sorry.
     10   provide any additional information to us to state       10       A. That's okay.
          that it wasn't her, so we left it in a disputed                  Q. I have one copy so let me take a quick
     12   status. You know we get the e~OSCARs over with no       [2   look. Pm going to ask you a few questions about
     13   additional information, so we verified what we had on   13   that document -
     14   the system which was unknown.                           14        A. Suie.
     15         Q. When you said verified as unknown, call        15        Q. -- that doesn't seem clear at this
     16   you explain what you mean by that?                      [6   point. Here it says broken promise work was ASI.
     17         A. Sure. When an e-OSCAR comes over and           i7   Can you explain what that means?
     IS   they're saying, you know, this isn't my debt, we take   18        A. That just means that this in our world
     19   a look at the information that came over with the       19   is an open queue. Based on what happens with the
     20   file and that was loaded in our system. In Crystal's    20   account, the accounts are reananged in priority. So
     21   case that infonnation was unknown.                      21   this was something that right here, okay?

                                                                                     »_ .\ ,... , 4


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                                                    Page 22                                                           Page 24
     l        Q. Yeah.                                              I   response to the interrogatories here, the first
     2        A. Rolled out to an A51 queue. So it's                2   interrogatory requests information for anyone who
    3    just an open queue is all that is. It just means           3   knows any facts allegedin, any information, any
     4   that no collector has ownership of that account and        4   facts alleged in the complaint. We didn't receive
     5   wants to continue to work it.                              5   anything about any sldp tracers, do you know why?
     6        Q, Okay. Here at May 24 it says e-OSCAR               6        A. Was the question asked? I don't know.
     7   verified, image added and e-OSCAR verified. What is        7             MIL METCHO: I'm going to object
     8   your understanding of what that means?                     8        to the question on the grounds that it
     9        A. That means that the e-OSCAR dispute came           9        may seek information that is protected
    i0   in and they took a look at it, they reviewed the Debt     10        by the attorney/client privilege, but
         Master and they verified the information that we had                you can answer if you are able.
    12   on file.                                                  12             THE WITNESS: Idon't know why it
    13        Q. Were there any other steps taken?                 13        wouldn't have been included. Idon't
    14        A. Other than viewing the account?                   14       know the answer to that.
    15       Q.   Yeah.                                            15           MR. GOLDSON: Okay. Ti1at's fine.
    i6       A.   I don't believe so.                              16       I would like to mark this as Exhibit 4.
    17       Q. Sorry.                                             17           (Whereupon Exhibits 4 and 5 were
    18       A. That's okay.                                       18       marked for identification.)
    19       Q. Just for the record right here where it            19   BY MR. GOLDSON:
    20   says gave copy to Audrey, is that Audrey Conllitti?       20       Q, Allright. The nextdocument that I'm
    21       A. Yes. Complaint received, added to                  21   goingto showyou is a documentthat I believe we


                                                    Page 23                                                           Page 25
     I   docket, yeah. So that would have been the complaint        1   received from Pendrick in this matter.
     2   that was received on that day, yeah.                       2            MR. METCHO: For the record, as
     3         Q. Okay. Thank you. I see a list of                  3       counsel for Ability, I do not recognize
     4   phone numbers here and then it says CBC skip four         4        this document, but l will allow Ms.
     5   times. What is CBC skip?                                   5       Nanfeldt to view it for purposes of
     6         A. CBC sidp, CBC Innovis is a company that           6       engaging in this deposition.
     7   we use to batch our accounts out to retrieve the best      7            THE WITNESS: I don't recognize
     s   location information possible, meaning phone numbers       s        this either.
     9   and addresses. So we'll take the information that we       9             (Whereupon Exhibit6 was marked
    10   have from our client, the way the file came over and      10        for identification.)
         we'lI create a tile and send it out for a batch. CBC           BY MR. GOLDSON:
    12   will retum information, what they consider to be          12        Q. Okay. The next document I'm going to
    13   their best information so that we can reach out and       13   show you is a document l received from your employer
    14   locate the consumer.                                      14   Ability Recovery Services. Do you recognize that
    15        Q. Okay. So that would be you're                     15   document?
    16   describing Ability Recovery Services' skip tracer?        16        A. No.
    17        A. Yes.                                              17        Q. Do you know what this document states,
    18        Q. Does Ability Recovery Services use any            18   the inI`o|'n1ation in this document?
    19   other skip tracers?                                       19        A. No.
    20        A. No.                                               20             MR. GOLDSON: We'll mark this as
I   21        Q. In your response ~- I'm sorry. ln your            21        the next exhibit.


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                                                      Page 26                                                       Page 28
       x            (Whereupon Exhibit 7 was marked                  l   report and the $74 account did not show up on her
       2        for identification.)                                 2   credit report?
       3    BY MR. GOLDSONz                                          3         A. I can tell you that credit reporting is
       4        Q. Is it Ability Recovery Services'                  4   part of our collection software. Okay. That
       5    position that the plaintiff Crystal Long owes Ability    5   information is built in. Okay. It goes out to each
       6    Recovery Services or Pendrick money from a medical       6   account and it creates the file based on the
       7    debt?                                                    7   information that comes over in the file Nom our
       s         A. I don't think we know at this point.             8   clients. That information is gathered and it's
       9         Q. I'm going to show you two collection             9   uploaded to each of the major bureaus. The bureaus
     10     letters sent by Ability Recovery Services sent to us    10   then take the information that we've provided and
            by your employer in response to a production of              they find the best Ht for it.
     12     documents. Do you recognize those documents"            12              So we're uploading the information that
     13          A. Yes.                                            13   we have in the system, I believe there was probably
     14          Q. The first document, can you tell me             14   a little bit more information maybe on one of the
     15     what that document is?                                  15   accounts than the other, but you know that's how the
     16          A. That's a collection letter.                     16   credit reporting process would work. We upload the
     17          Q, What's the balance on that letter?              17   information that we have in our system. The credit
     18          A. 55.50 after the discount.                       [8   bureaus decide the best tit.
     19          Q. Okay. After the dispute phone call              19         Q. So is it your testimony that this $74
     20     when Crystal Long called, this account did not show     20   account was reported in the same fashion as the
     21     up on her credit report. Do you know why that is?       21   $1,125 account to the credit reporting agencies?
(




                                                      Page 27                                                       Page 29
        t             MR. METCHO: Pm going to object                 I       A. Whatever information that would have
       2         to the question on the grounds of form              2   been in each respective account would have been
       3         and seeks speculation, speculatoty                  3   uploaded to the bureau.
       4         information. But, Kim, you can answer               4       Q. Okay. So the difference in reporting,
       5         if you're able.                                     5   your testimony is that it's because of the credit
       6              TH]8 WITNESS: I don't recall when              6   reporting agencies, not Ability?
       7         it showed up on her credit report.                  7       A. There's different information in each
       8    BY MR. GOLDSONz                                          S   account. So the bureaus would have looked at each
       9         Q. Okay. And the second document --                 9   one individually and made the best bet.
     10          A. Right.                                          10       Q. Okay. Does Ability Recovery Services
     11          Q. -- can you describe that document?              ll   generate these documents, these two collection
      12         A. Well, it looks like it's the same               12   letters?
      13    letter just a different account, discount letter        13        A. We send a tile over to our letter
      14    validation.                                             14   company and they would generate them.
      15         Q, What's the balance on the account?              15        Q. Okay. Does Ability Recovery Services
     16          A. 843.75.                                         16   generate those documents through the regular course
      17         Q, Do you know why this account appeared           17   of its business?
      18    on Crystal Long's credit report while this account --   18        A. Yes.
      19    I'm sorry. For the record, why the account with the     19        Q. Okay. Thank you.
     20     total balance where it says your balance is $I,l25,     20            MR. GOLDSON: l'd like to mark
I           why that $1,125 account showed up on the credit
     21                                                             21        these exhibits separately please.

    |»» »




                                            Al Betz           Associates, Inc         o


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i                                                       Page 30                                                     Page 32
     I            (Whereupon Exhibits 8 and9 were                   I        credit bureau makes the decision if
     2        marked for identification.)                           2        there's enough information to place it
    3    BY MR. GOLDSON:                                            3        on the record.
    4         Q, When Ability Recovery Services received            4   BY MR. GOLDSONI
     5   credit disputes from the credit reporting agencies         5        Q. Does Ability ever make a determination
     6   about the plaintiffs account, was Ability Recovery         6   as to whether or not any of the consumers that it
     7   Services' response consistent with its credit              7   pursues for debt actually owe that debt?
     8   reporting reinvestigatiolt policies and procedures?        8        A. I don't understand your question.
     9        A. Yes.                                               9        Q- Does Ability ever make, ever come to
    10        Q. Did Ability Recovery Services                     10   the conclusion through its collection process that a
         communicate with Pendrick about this account after it          collector, sorry, that a consumer actually owes the
    12   received the disputes?                                    12   debt that Ability Recovery Services purports that
    13        A. No.                                               13   that consumer owes?
    14        Q. When did Ability first report                     14        A. That comes from our partnership with
    15   information about the plaintiff to the credit             15   our clients and the ability, you know, to -- we
    16   reporting agencies?                                       16   partner with, you know, clients that are credible and
    17        A. I don't know the exact day, but it                17   that you know these people, you know, do all the
    18   would have been more than 30 days fiom the placement      ls   debts and they can provide the backup that says that
    19   date.                                                     19   they do.
    20        Q. That's the policy -                               20        Q- In this case with the plaintiff Crystal
    Zi        A. Yes.                                              2]   Long, Pendrick your partner sent placement data for a


                                                        Page 31                                                     Page 33
     l        Q. -- more than 30 days? When you say                 I   Crystal Long that lived in Baltimore. Ability sent a
     2   more than 30 days, is that because Ability Recovery        2   letter to the plaintiff and that letter went to
     3   Services sends out the information on the same day of      3   Bowie, Maryland. So where did Ability get the Bowie,
    4    each month?                                                4   Maryland address?
     5        A. No. lt's -- that's what the law                    5        A. CBC Innovis.
     6   requires. The law requires that there's a validation       6        Q. l'm showing you here the credit
     7   period of 30 days. So whatever that next credit            7   disputes for ACDVs, therc's four of them there and
     8   reporting cycle would fall after that 30-day period        8   those are the documents that Ability Recovery
     9   is when the account would go over.                         9   Services sent the plaintiff in response to the
    10        Q, Thank you. All right. When Ability                10   request l`or the production of documents. Do you
         reports an account or credit reporting agency, is              recognize that document?
    12   Ability telling the credit reporting agency that the      12        A. I don't work hands on with these, but l
    13   consumer owes that debt"                                  13   do know that it's an e-OSCAR.
    14             MR. METCHOI I'm going to object                 14        Q. Okay. Do you know llow these documents
    IS        to the form of the question, but you can             15   are generated?
    16        answer it if you are able.                           16        A. They come to us, the girls log in
    17             THE WITNESS: I mean basically we                [7   online and pull the information down that way fiom
    18        are saying this is the information                   18   like a queue.
    19        that's been provided to us and we send               19        Q, I-low does Ability Recovery Services
    20        that information over, And based on the              20   receive this document?
    21        information that's in that file, the                 21        A. Other than the girls logging in online

                                    .'..//;....   _


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      1   and getting the infonnation through, you know, their     I   is correct, it's your understanding of the
     2    website, I don't know.                                   2   verification of those disputes?
      3       Q. When you say the girls log in online,             3         A. I'm saying the information as her name,
     4    are you talking about into the e-OSCAR system"          4    her address, the infoimation that we have on file
      5       A. Yes.                                              5    that went over in that string to the credit bureaus
     6        Q. Okay. Thanks. Can you just turn to                6   was conect.
     7    the second page. Can you read that last sentence         7       Q, Okay. Did Ability Recovery Services
      8   there for the record.                                    8   confirm the debt as accurate with the first ACDV"
      9       A. Down here?                                        9       A. I don't know.
     10        Q. Yes.                                            10       Q. Did Ability Recovery Services confirm
               A. By submitting this ACDV you certify                  that the debt is accurate for the second and third
     12   that you have received and considered all associated    12   disputes?
     13   images, you have verified the accuracy of the data in   13       A. 1'zn not that familiar enough with them
     14   compliance with its legal requirements and your         14   to answer that.
     15   computer and/or manual records will be adjusted to      15       Q. What is eOSCAR?
     16   reflect any changes noted.                              [6       A. e-OSCAR is the online disputing site.
     17        Q- Okay. Just for the record where it              17   Consumers go there, they put their dispute in, it
     18   says reviewed, I believe you said received.             18   comes to us and we answer it.
     19        A. Sorry. My eyes aren't what they used            19        Q, Next I'm showing you the consumer, the
     20   to be.                                                  20   plaintiff in this matter Crystal Long's dispute,
     21       Q,     All right. So what's your                    21   first dispute letter. Do you recognize that


                                                        Page 35                                                    Page 37
      I   understanding of that statement?                         I   document?
     2         A. That we have reviewed the account and           2        A.    No.
     3    the information that we are reporting over is            3           MR. GOLDSON: I'lI mark that as
     4    co11'ect.                                                4       the next exhibit.
     5        Q. Okay.                                             5            (Whereupon Exhibits 11 was marked
     6              MR. GOLDSONz I would like to go                6       for identification.)
     7        ahead and mark the exhibit.                          7   BY M R . G OL DS ON:
     8              (Wiereupon E>d1ibit 10 was marked              8       Q.    I'm showing you three disputes sent by
     9        for identification.)                                 9   the plaintiff Crystal Long sent to the credit
     10   BY MR. GOLDSON:                                         10   reporting agencies. Do you recognize any of those

              Q, Ms. Nanfeldt, is it your understanding                documents?
                                                                  12       A.    No.
     zz   when you respond -- when you responded, I'm sorry,
                                                                  [3       Q.    Okay . T hanks.
     13   when ARS, Ability Recovery Services, responded to
     :4   those disputes, is it your understanding that that      14            MR. GOLDSON: Iwould like to mark
     15   response was confirming the reporting as accurate?      [5       those asoneexdiibit.
     16       A. Ithink it was doing neither. It was              16            (Whereupon Exhibit 12 was marked
                                                                  17       f or identification.)
     17   saying this is the infonnation that we have.
                                                                  18   BY M R . G OLDS ON:
     18       Q, Okay.
     19       A. Or just saying that the information we           19       Q.    Ms. Nanfeldt, who at Ability uses
     20   sent over was co1Tect.
                                                                  20   e-OSCAR?
r4   21       Q, The information that you were sending            21      A. Shannon Price,KathleenTurner. At



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i                                                       Page 38                                                   Page 40
     I   that time that would be those two.                        l       A. Collection manager.
    z        Q, Okay. Who trained Shannon Price and               2        Q, Okay. And when did you first become
    3    Kathleen Turner on the use of e-OSCAR?                   3    aware of Crystal Long's account with Pendrick?
    4        A. Audrey Conflitti.                                 4        A. I would say when the lawsuit came.
    5        Q, Do you know if Audrey Co||I1itti used             5        Q. Okay. Were you involved at all with
    6    any computer programs or training materials when they     6   the specific collection of the account?
    7    trained?                                                  7       A.   No.
    s         A. ldon't.                                           8       Q,   We did take a look at these account
    9        Q,     Does Ability Recovery Services record         9    notes earlier, correct --
    10   the phone calls that it makes and that it receives       10       A. Yes.
         from consumers"                                                   Q. - which was marked as Exhibit 2?
    12       A. Yes.                                              12        A. Yes.
    13       Q,     Who receives those phone calls at             13        Q. You were not involved in the collection
    14   Ability Recovery Services'° '                            14   of this particular account, however you are familiar
    15       A.     They go into our recording drive.             K5   with the collection notes and what they report;
    16       Q,     Okay. Which employees receive the             16   correct"
    17   calls? When a call comes in to Ability Recovery          17       A. Yes.
    18   Services from a consumer that receives a letter,         18       Q. Okay. In these notes can you tell me,
    19   which employees held those calls?                        [9   we're looldng at the debtor activity history, when
    20       A.     All of thcm.                                  20   was the initial collection letter sent to Ms. Long"
    21       Q.     Okay. All the collection employees?           21       A. November 12, 2016.


                                                        Page 39                                                  Page 41

     I         A.  All of the collection staff, yes.               I       Q, Okay. And was there any response to
     2       Q- Thirty of them, right?                             2   that letter received in writing?
     3       A. Yes.                                               3       A. Not that I'm aware oi
     4       Q. Do any members of the collection staff            4        Q. Okay. When did Ability receive the
     5    have the ability to stop recording?                      5   call from Ms. Long?
     6       A. No.                                                6        A. November 22, '16.
     7       Q. Does anybody at Ability have the                   7        Q. Okay. And the entry after the November
     s    ability to edit the calls after --                       8   22 entry, what does that reflect?
     9         A. No.                                              9       A. The e-OSCAR dispute.
    10         Q. -- they are recorded? That's all I              10       Q. Okay. And what does that mean?
          have.                                                            A. That means that she went and -- she
    12              MR. METCHO: I do havesome                     12   went to the credit bureaus, the ones online and
    13         follow-up questions. Do you mindif we              13   disputed it.
    14         take a live toten-minute break?                    14       Q, Okay. And going back to the November
    15             MR. GOLDSON: That's fine.                      15   22, '16 entry, can you just read what the entry
    16             (Whereupon arecess took place.)                16   means, what it says, excuse me?
    17                                                            17        A. Sure. That's taking an account from a
    18             EXAMINATION                                    18   new status to a disputed status.
    19    BY MR. METCHO:                                          19      Q. And why would that occur"
    20        Q, So, Kim, again what is -- 'm November            20      A. That would occur because she spoke to
    21    of 2016, what was your position with Ability?           21   someone and she relayed that infoxmation to us.

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      l        Q. Okay. Look at this debtor activity               l       debtor history, the documents we've gone through
      2   history which you are familiar with. Did Ability        2        during this deposition, did Ability correctly report
      3   place any calls to Ms. Long"                            3        all trade line information that was obtained and
     4         A. No.                                             4        received from the credit bureaus"
                                                                                 A. Yes.
      5

      6
               Q. Okay. Other than the November 22, 2016
          entry, did Ability receive any other calls from Ms.
                                                                  5

                                                                   6             Q, Okay. Do you have any reason to                 8
      7   Long?                                                    7       believe that any of the information that was reported
      8        A. No.                                              8       by Ability to the credit bureaus was inaccurate?
      9        Q. Okay. When did Ability cease                     9             A. No.
     10   collection activity on the account?                     10             Q. Do you have any reason to believe that
               A. November 22, 2016.                                       any of the information regarding the disputes that
     12        Q. What I'n1 going to show you now are a           12       was exchanged between the credit bureaus and Ability
     13   few letters that were presented to you. It looks        13       was untimely?
     14   like Exhibit ll, 12 and then 13 and 14. We should       14             A. No.
     15   mark these. No, excuse me, 11 and 12 was the three      15             Q, Do you believe that the policies and
     16   documents.                                              16       procedures that are in place regarding Ability's
     17            Looking at these letters, who are they         17       disputes and their process are compliant with the
     18   addressed to?                                           18       FCRA?
     19        A. Sir or madam.                                   19             A. Yes.
     20        Q. On the actual mailing address.                  20             Q, l have nothing further.
                                                                                                                                    i
     21        A. Equifax.                                        21                MR. GOLDSONz And just to clarify
 I
i.

                                                     Page 43                                                              Page 45
      I       Q,   Okay. And that's on Exhibit 11. If                  l         because I don't believe Imentioned this
      2   you can take a look at Exhibit 12 the tirst document,        2         at the beginning, Ms. Nanfeldt, you are
      3   who is that addressed to?                                    3         testifying as the coiporate designee of
      4       A.   Experian.                                           4         Ability Recovery Services today,
      S       Q,   The second document?                                5         correct?
      6       A.   Equifax .                                           6              THE WITNESS: Yes.
      7       Q.   And the third?                                      7              MR. GOLDSON: "Ii1at's it. Nothing
      8       A.   TransUnion .                                        8         further.
      9       Q.   Okay. Taking at look at these                       9              MR. METCHO: Morgan, do you have
     10   documents, was Ability Recovery Services cc'd or        10             anything?
     ll   copied on any of these letters that were sent to the    11                  MR. MARCUS: Idon't have anything
     12   credit bureaus?                                         12             at this time. But, Ron, give me a call
     13       A.   Itdoesn't appear toso.                         13             later if you have time to speak.
     14       Q,   Was Pendrick?                                  14                  (Whereupon the deposition was
     15       A.   I don't think so.                              15                     concluded at I1:59 a.1n.)
     16       Q,   lt's a yes or no question.                     16

     17       A.   No.                                            [7

     18       Q. Okay. Were any other entities other               sa

     19   than the specific credit bureaus?                       19

     20       A. No.                                              20

I    21       Q, Okay. In your opinion looking at                 21


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      l          CERTIFICATE                                     l   Dear Sir or Mada1n:
     2                                                          2

     3        I, Christine Messner, a Notary Public in and       3          Bound herewith is the transcript of the
     4    for Wyoming County, Pennsylvania, do hereby certify   4    above-referenced deposition. Please read the
     5    that the deposition was reported in machine            5   transcript and sign the errata pages. Any
     6    shorthand by me, that the said witness was duly       6    additions or corrections should be listed on the
     7    sworn/affirmed by me, that the transcript was         7    errata sheets provided. Please remove the signed
     8    prepared by me orundermy supervision and               8   completed errata sheets, and retum them to the
     9    constitutes a complete and accurate record of same.    9   address listed above for processing.
     10                                                         10

              I further certify that I am not an attomey                     If this process has not been completed
     12   or counsel of any panties, nor a relative or          12   within (30) thirty days from the date of this
     13   employee of any attomey or counsel connected with     13   letter, we will assume that the right to read the
     14   the action, nor financially interested in the         14   deposition has been waived. This is in accordance
     15   action.                                               15   with Rule 30(e) of the Federal Rules of Civil
     16                                                         16   Procedure and Rule 2-415 of the Maryland Rules of
     17                                                         17   Procedure.
     18                                                         18

     19           ChristineMessner                              19

     20                                                         20

     21                                                         21



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      I         AL BETZ & ASSOCIATES, INC.                       I            READING & SIGNING PROCEDURE
     2           Administrative Offices                          2

      3             P.O. Box 665                                 3         The Deposition of Mark Carlson, taken in
     4          Westminster, Maq/land 21158                      4   the matter, on the date, and at the time and place
      5     VOICE - (410)752-1733 FAX - (410)875-2857            5   set out on the title page hereo£
      6     E-maiI- productiondept@albetzreporting.com           6         lt was requested that the deposition be
      7          www.albetzrepo1ting.oorn                        7   taken by the reporter and that same be reduced to
      8                                                          8   typewrittenfonn.
     9    DATE: March 8, 2018                                    9          It was agreed by and between counsel and
     10   JOB NUMBER: l80222key_(l)nanfe1dt kim                 10   the parties that the Deponent will read and sign
          CASE CAPTION: Cnystal Long v. Pendrick Capita!             the transcript of said deposition.
     12   COURT: US Distiict Court, District of Manyland        12

     13   CASE NUMBER: 8:17-CV-1955-GJH                         13

     14   DEPONENT: Kim Nanfeldt                                14
     :5   DATE OF DEPOSITIONI February22, 2018                  15

     16   ATTORNEYS/FIRMS:                                      16

     17    Ingmar Goldson, Esq. / The Goldson Law Office        17

     as    Ronald M. Metoho, Esq. / Ma1shall Dennehey           18

     19                                                         19

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      l           DEPOSITION ERRATA SHEET
     2    RE: Al Belz & Associates, Inc.
     3    FlLE NO.: 180222key (I)nanfeldt_kim
     4    CASE CAPTIONI Crystal Long v. Pendrick Capital
     5    DEPONENTI Kim Nanfcldt
     6    DEPOSITIONDATE: February22, 20]8
     7          I have read the entire transcript of my
     s    Deposition taken in the captioned matter or the
      9   same has been read to mc. 1 request that thc
     10   changes noted on the following errata sheet be
     II   entered upon the record for the rcftsons indicated.
     12   I have signed my name to thc Errata Sheet and
     13   authorize you to attach it to the original
     14   transcript.
     15   PAGEfLrNi8       CHANGE               REASON
     [6

     17

     is

     19

     20   SIGNATURE:                                        DATE:
     21            Kim Nanfeldt


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      l   PAGE/LINE        CHANGE               REASON
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     20   SIGNATURE:                                        DATE:
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     ZI             Kim Nanfeldt



                                                   A l Betz      Associates, Inc
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      9:l0,17 10:16       activity (4)21 :3       answers (1)6:13               32:18                29:17
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